USDA                                    Unltod States Department ol Agricutture
                                       Animal and Plant HoaHh 1nspec1ion Service                                         -w•
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                                                 Inspection Report
Tom J . Sellner
Pamela J. Sellnet                                                  Customer I0 : S143
Cricket HollOw Zoo                                                    Cortllicate· 42-C-0084
1512 210th Stree1
Manchester, lA 52057                                                         Slie· 001
                                                                              l(:lf.t l PAUQ..A SEU.HER


                                                                             Type· ROUTINE INSPECTION
                                                                             Date· Aug-OS-2014

 2.40           (b)      (2)                     REPEAT
 ATTENOING VETERINARIAN AND ADEOUATE VETERINARY CARE (DEALERS AND EXHIBITORS~
W.lemale Old Engish Sheepdog named "Macey'" has sores behind bolh ears lhalare awroJIOnatety ooe inch in
ciameiOf. The or... are red end . _ . t>u1 thefe il no -oo-        The dOg -     no1 seen shaking her head or
scraii:Hng the area. Slon leSions can be caUS«< by •auma. potasiloolpoots. end OCher moc1ca1 problems end can be
painful. The licensee must have rtis ai'W'nal examined by a llc::en5ed veterirlinan •n order ro ~e lhat an ac:x::tn~e
diagnosis ts obtained and that an apptOptlate treatment pAan iS develOped and IOIOn ed. The 10ensee must document
the outcome ol tills coost.llaroo and malcAIIIa•a.l- 10 tile 1nspec10< ._, requesL

 The licensee staled that stle is using "Notvasan" anbMptic Oitltment on the sores neat the eats of th& Old Engish
Shoopdog. Too explratloo datelosrOd on thG contalnet Is Oct 07 Expired modicalions can experience spoilage or
have reduced efficacy. This could lead to prolonQtd il~... or suffering IOf the animals needing the drug. The
licensee must ensure that all medico1ions used In tho tad 1ty aro not exp.rod and labelod property in accordance wtlh
standard vetennary pmdlc::es

3.1             (c)      (3)                     REPEAT
HOUSING FACIUnES. GENERAL.
Cleaning.

Within the wolf hybtld enaosuro thOfo Is o bu11d·up ol locos and food wasta on tho noor ol the ooclosure. The waste
is attracting ff»es. There are two woll hybrids In this enclosure. Faiture to properly clean and sanitiz.e primary
enclosures can lead to disease hazards lor !he animals. Floors mad& ol dlrl, absorbenl bedding, sand, gravel, grass,
or other slmflat material musl be raked Of &pOI«CI&anod wllh sulllc::lenl trequency to ensure all animals the lreedom 10
avoid con1ae1 vi!h excreta, Contaminated matetlal mus.1 be replaced whenever thi5 ral<lng and spot-cleaning is not
suUicient lo ptevenl or eliminate odors, lnsee1s. pesll, or vOtmln inleslallon.




                               Mt..RGt..F:ET :1-L.'...VEP [• V M
Pr01)ared By:


      Title:
                      MARGARET A HAV         .
                                          -. .         USDA.
                      VETERINARY MEDlCAL OfflCER l""*'or 6034
                                                                    s. Ani   aiCare                       Date:
                                                                                                      Aug-06-2014

Recefyed By:
                                                                                                      Oate:
      TiUe:                                                                                           Aug.07-2014
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3.10
WATe.RING.

In an ..-..e """'BOning            -dogs.
                                        lhe water receplade oonlah!d a l>.ilclJp of gr- material. on and/or <1e00s.
Failure 10 dun lind aa~e wazer receplades can tead 10 c:bease hazatdl for lhe atWT'IGts. M water receptaCles
must be kepc clean anct IQtlllilod at least once eve~y rwo weekS or mote ohen It necossary 10 ptevent an
accumulation or cflf1. debtis., algae and other cisease hazards.

To be ccwrected by August t9, 20 14
3.11                (d)
CLEANING. SANinZATION. HOUSEKEEPING. AND PEST CONTROL.
There are oxcosslve numbers ot flies seen on the feces and oo the ground throughout the enclosure housing two
dogs and the enctoswo hOusing two woll clog hybrids. One ot the dogs was soon to have &Cif'es behind her ears that
the licensee attrlbutod to tho tllos. Fllos can transmit disease and can cause skin irritation. Tho 1100nsoo must
establish and maintain M effeo1ive program for the contr~ of insects thai are peas so as to promote the health and
wel·belng ot the anlmats and reduce contamination by pasts in animal 8JN8. To be eotrecled by s September 201-1.

3.75                {a)
HOUSING FACIUTIES, GENERAL.

There a r e - - wood 5Uili>0'1 boatds at lhe base of the OU1door I)OI1JOII of lhe endosure housing lhree
-.s. llrof<on wood ponets can cause rpy to t h e - and oltoco lho lln.CIU,.. negmy of lhe endosuro. Tho
..,..,_"""' .,... that houstlg facilties lor non1unan ptlma!K ate dos9>0d lind consiM:Ied so lhallhoy...,
SI1UC8Jt81y -nd lor the specie$ of nonhuman primaleS housed .. '"""' Encloourll$ ...... also be i<epl;, good
repaw, protect the animlts fttm ......-y, contain the animals securety, and riA'W:t OChet &nil'nats from antenng. To be
ootrf!CI8d 5 So!>c- 201C
3 .75               (C)      (3)                    REPEAT
HOUSING FACIUTIES. GENERAL.
Cleaning

Tho ftoor o4 tho onclosuro housing two rhesus macaques had a butll:lJp of wot ond dlny boddlng material. When thO
animals shook the baNI ol the cage, bugs were observed crawling out from the wet beckting, Failure to clean animaJ
housing areas. Including primal)' enCIOsur&S, can lead to health hazards. pests ond odors.

Hard surfaces with wtllch non-human primates come in oontact must be spoi·Cieaned daity and indoor primary
el'dosures must be sanitized at ktas-1once every two weeks or more often if ntctssary to ptevent an excessive
accumulation of din. dobtls, animal Of food waste. or disease hazards. ConlanMatod material must be removed Of
replaoed whenev&r raking and spoe cleaning does not eliminate odors, dlseasos, insects, pe&ts, or vermin infestation.
AI other sutfaces Wilh•n houSing laclkbes must 00 Cleaned and sanrUzed when neonsary to sabSiy l)9l'*'aly
accep~ed huSbandly _,ds and practices.




Prepa~        By:
                          MARGARET A SHAVER. O.V.M.       USOA. APHIS. Arimal Care               Date:
     Tille:               VETERINARY MEDICAL~~~~~~ 6034                                          Aug~201 4

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3.84                (d)
CLEANING, SANm ZATION, HOUSEKEEPING, AND PEST CONTROL
Pest conD'Ot

There are an excessive number of flies !tying atound within tM wa!kway In the back of the rGpWe house near the ring
tailed and red rvNed temur enctousures. The licensee states these are trurt ffils There are an excessive number of
tl'ie$ IMthln the primate building. The 11195 ate mainly located wittwn the wa.lkwoya be1ween the enclOSures.

The presence of pests can lead to health halards for the animals. A sate end ellecl:ive program for the control of
pests, Including Illes. must be Mtablished and maintained. To be oortected 6 Stpl9fflber 20 14.

3.125               (a)                           REPEAT
FACILITIES, GENERAL
There are several enclosures throughout the facility in need of repa)(.

There Is a sealon ot c:haln·tink tonce bctwccn the camol and sheep enclosure that has ~ratod from !he suppon
posl althe ground Tholarea ol the lence ;s also pushed up and into the sheep enclooure thet«>y elCj)OS;ng lhe sharp
poinl$ at me btio o1 ""' lenoo.

Wllhin lhe sloth - . . ... lhere ;. an expoood screw (8lll>"><imately 2 incllel) that was prev;ou,Jy use<110 support a
climbing log.

There ;a a gap uncle< tile gale "' on enclosure housing Sanla Cr\a sheep indudong \'01"'11 and small !ambo. The gap
appea~s 10 be lafgo onougi!IO allow lhe tamt>s 10 craWl tllrough lhe gap.


These areas are noc In good repair and could lead to animal escape Ot tn,ury.

These areas need to be repaired or replaced so they are s.tructurally sound end shall be maintained in good repair to
protect the animals from tn,ury and to COf'ltain the animals.
3.125       (C)
FACILITIES, GENERAL
The tood storaoo room in the education building has a box containing doto11oratlng lrvits and vegetables (mango,
tettuoe. and peppers). There is also a bag oontaining molding bread and smsllllloa. Detericwating lood loses its
nuttatlve value. The tanso must storo suppl-es ot fOOd and bOddtng In taelbtios which adoquatoty ptotoct such
supplies agains1 detetiof'ation, molding. or contamination by vermin. To be correaad 6 Avgus.t 2014,




Prepa~        By:
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3.127      (C)                                    REPEAT
FACll.mES. OUTOOOR.
~

There are largo atoas o1 ltondotlg watO< -    llle polbelly pig onciOsuto fJ) and lhe Molshan pig onciOsute (2).
Within the porbelly p.g endosure, the water has collected undef and atound tl'le automatiC waterer. Within the
Mecshan pig endolure, there ate three large areas of standing water. One a' the large poors of wattW has a layer of
stime.

IJ'1'¥lt0per drainage within endosures does not ensure a dean. dty environment for the alimals. A suitabla meltlod
shall bo ptovldod to rapidly Cllimlnatc exoess water from within the onctosuros..
3.130                                             REPEAT
WATERING.
The water receptacles with n the capybara enclc>sure and lhe enclosure hous.lng three raccoons oontain green water,
dirl and/or dobria. l.ack ot ctean water for animals can cause thirst, dehyMatlon and Other medical conditions. The
llc:ens&e must ensure Lhat potable wator Is otlered to the animals as ohen as nooossary to provklc tor their health and
c:omtort. All water reoeJ)1acle shall be kept clean ancl sanitary.


3.131     (I )                                    REPEAT
SANITAT10N.

Cleaning " ' - . ...
There are several enck»ures lhtoughoullhe entire faobry that have a bulkt-up of food waste anc&.'Ot arwnal waste
within the encloeure and/or within the sheller for the enclosure The following al"'mals were in the affected
•-res: oplnoy , _ ( 12 in the reptole t>Wking), tigers (2). bob<:at ( t ), liotlo (2). Altlcan aested porcupones (2),
sloth (I). Patago""n cavy ( t). camel (I). sheep (30). lallow dOO< (l ).ll:lmas (4). gcxus (21). cattle (7). ooogar (I). and
bobcat (1). In some or the areas the build·up is very thick and is mixed In with the bedding or floor siA:lstrate. In some
of ltlese localions lhere Is an odot and lhe waste i$ alllactitlg Illes.

There ia a buildup ot wGI and dirty hay and other food debris in a plastic orate in the enclosure housing one capybara.
When examined with a glovod hand, bugs were sea-n crawling at tho bollom ot tho wct debris. The liconsoo statos
that she usos this crate fat teedlng in this enclosure.

Fallufa to clean animal onclosuros can load to health hazatds, pests and odors Primary onclosuros shall be deanOd
and e-.-ore'la lha!l be removed in order to prevent c:omamination of the animals conlained therein and 10 minimize
disease hazards, pes:ta and Odors.




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3.131               (d)                           REPEAT
SANITAT10N.
Peslcomrd.

There are"" excessiVe nt.mbof of lli<ls ptosent rtvoogha<Jt !he .,,~oladOiy. The<o arollios wflhln !he 1-.g
enclcl<wres· PalaOO<"M cavy ( I), C"''\'bara (1~ pot!lelly pgs (3), Melshan piOs (2), canle (5), tigers (7). cougar (1),
lions (2). Flies can be   "*' landing 01"1 the arimals, bedding, food and an•mal wa~e. The bfangus and one of the
tigers ate reacbf'lg to the excessive flies landing on them. The brangus Is stomping and shaking his head and the uger
is twitching and pawing at the flies.

Thoro arc 1'10$ tl ~lng around within the walkway In the back of tho rop~ilo house and In the food storage room in the
education oentor. Tho flies in the education center are hovering around and crawting on stored food. The lioensee
statGs these are trult iUos.

The pres(mC8 of pesl.s can toad to health hazards lor the animals. A sate and olleetive prooram for the control ot
poo-ls, Including tiles. birds. spidors and rodents, must be establiShed and malntalrlocl.




-·-ad
This was an lnSf)f!laiOn or the laoUty only Records were 001 in:spec:led at this visil Tho lir'l$peCOOn and exit interview
                »llh""' ...........




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